 Case 4:17-cr-40035-JPG Document 70 Filed 01/25/21 Page 1 of 4 Page ID #293




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                                   Case No. 17–CR–40035–JPG

 ROBERT T. TURNER,
 Defendant.

                                            ORDER

       Before the Court are Defendant Robert T. Turner’s Motion for a New Trial, (ECF No. 67),

and Motion for Return of Property, (ECF No. 69). The Government responded to the former but

not the latter. (Resp. to Mot. for New Trial, ECF No. 68). For the reasons below, the Court

DENIES both motions.

  I.   PROCEDURAL & FACTUAL HISTORY

       In 2017, a federal grand jury indicted Turner for distributing at least 50 grams of

methamphetamine. (Indictment 1–2, ECF No. 1).

              [The] investigation was conducted by the Illinois State Police
              Southeastern Illinois Drug Task Force and the Lawrence County
              Sherriff’s Department. Confidential sources were used to purchase
              methamphetamine from Robert Turner in early 2017 using official
              advance funds. A search warrant was executed at his residence
              where . . . 239.34 grams of ice methamphetamine was discovered
              in various places . . . . Officers also discovered $4,789 in currency
              which contained $70 of pre-recorded official advance funds
              previously used to purchase methamphetamine by a confidential
              source, surveillance cameras, and drug paraphernalia.

(Presentence Investigation Report 3–4, ECF No. 35). He pleaded guilty, and the Court sentenced

him to a 264-month term of imprisonment. (Judgment 1, 3, ECF No. 40).
 Case 4:17-cr-40035-JPG Document 70 Filed 01/25/21 Page 2 of 4 Page ID #294




 II.   MOTION FOR RETURN OF PROPERTY

       As alluded to above, a judge in Illinois’s Second Judicial Circuit Court issued a warrant to

the Southeastern Illinois Drug Task Force to search Turner’s mobile home. (Search Warrant 1,

ECF No. 60–2). State and federal officers cooperated to execute the warrant, (Mot. for Return of

Property at 1), and the seized evidence was “transported to the Illinois State Police/Zone 7

Investigations Evidence Vault,” (Ill. State Police Investigative Report 1, ECF No. 60–4 at 3). Now

Turner asks the Court to order the Illinois State Police to give back the money they seized from

him under Federal Rule of Criminal Procedure 41(g). (Mot. for Return from Property at 1).

       Rule 41(g)—formerly Rule 41(e)—provides that “[a] person aggrieved by an unlawful

search and seizure of property or by the deprivation of property may move for the property’s

return.” Fed. R. Crim. P. 41(g). That said, “Rule 41(g) permits only the recovery of property in the

possession of the Government.” United States v. Stevens, 500 F.3d 625, 628 (7th Cir. 2007);

3A Charles Alan Wright et al., Federal Practice And Procedure § 690 (4th ed. 2019) (“[A] motion

for the return of property must be denied if the government does not possess the property.”); e.g.,

United States v. Solis, 108 F.3d 722, 722 (7th Cir. 1997) (affirming the denial of a then-Rule 41(e)

motion because the Government did not possess the property and was thus “not the appropriate

party which to request its return”). So even if the state’s seizure of the property led to federal

charges, Rule 41(g) is not the proper vehicle to seek the return of property in state custody. See

United States v. Price, 841 F.3d 703, 707 (6th Cir. 2016).

       Turner asked for his property back four times already. (First Mot. for Return of Property 1,

ECF No. 58; Mot. for Order Directing Immediate Return of Property 1, ECF No. 59; Mot. for

Order Directing Prosecutors to Provide Copy of Ex. 2, ECF No. 62; Mot. for Recons. 1, ECF




                                              —2—
 Case 4:17-cr-40035-JPG Document 70 Filed 01/25/21 Page 3 of 4 Page ID #295




No. 65). The Court denied each request. (Memorandum & Order 1, ECF No. 64; Order 1, ECF

No. 66). This time is no different.

       As this Court has tried to explain several times, the property Turner seeks is held by the

Illinois State Police—not the Federal Government. The Court cannot order the Government to

return something that it does not have. For these reasons, the Court DENIES Turner’s Motion for

Return of Property. If Turner files another motion here to obtain the seized property, then the Court

will consider imposing a filing ban.

III.   MOTION FOR NEW TRIAL

       Turner says he learned “[b]ased on recently obtained documents . . . that the informant used

to establish his conduct unlawfully entered property owned by Clara Bird after being given notice

by Clara Bird to not ever be physically present on any property owned by her in her absence.”

(Mot. for New Trial at 1). He asserts that “[i]t is a clear violation of one’s privacy rights, under the

4th Amendment, to enter another’s residence while equipped with a recording device and notice

to the residents thereof.” Turner thus argues that his “guilty plea was not entered knowingly,

intelligently, or voluntarily, because the foregoing information was hidden from him and not

revealed at the time of his change of plea.” (Id. at 2–3). The Court disagrees.

       Turner’s Motion for New Trial under Federal Rule of Criminal Procedure 33 fails because

he never had a trial to begin with—he pleaded guilty. “By its express terms, Rule 33 is confined

to those situations in which a trial has been had. A defendant who enters a guilty plea cannot

thereafter use Rule 33 as a wedge to undo his acknowledgment that he committed the offense.”

United States v. Graciani, 61 F.3d 70, 78 (5th Cir. 1995); see also United States v. Miller, 197 F.3d

644, 648 (3d Cir. 1999); United States v. Lambert, 603 F.2d 808, 809 (10th Cir. 1979).




                                               —3—
 Case 4:17-cr-40035-JPG Document 70 Filed 01/25/21 Page 4 of 4 Page ID #296




       Moreover, “[a]fer the court imposes sentence, the defendant may not withdraw a plea of

guilty . . . and the plea may be set aside only on direct appeal or collateral attack.” Fed R. Crim.

P. 11. Turner already unsuccessfully appealed the sentence, and the Seventh Circuit noted that

Turner did “not wish to challenge or withdraw his guilty plea.” (Order, 1, ECF No. 57-1). And if

Turner were to assert this supposed Fourth Amendment claim on collateral attack, then the Court

would note that “[a] person who is aggrieved by an illegal search and seizure only through the

introduction of damaging evidence secured by a search of a third person’s premises or property

has not had any of his Fourth Amendment rights infringed.” Rakas v. Illinois, 439 U.S. 128, 134

(1978). For these reasons, the Court DENIES Turner’s Motion for Return of Property.

IV.    CONCLUSION

       The Court DENIES Defendant Robert T. Turner’s Motion for a New Trial and Motion for

Return of Property.

       IT IS SO ORDERED.

Dated: Monday, January 25, 2021
                                                     S/J. Phil Gilbert
                                                     J. PHIL GILBERT
                                                     UNITED STATES DISTRICT JUDGE




                                              —4—
